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June 24, 2025

Hon. Ona T. Wang
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

VIA ECF

Re: In Re: OpenAI, Inc., Copyright Infringement Litigation, 25-md-03143-SHS-OTW; this
document relates to Daily News, LP Et Al. v. Microsoft Corp., No. 1:24-cv-03285-SHS-OTW

Dear Judge Wang:

OpenAI writes to provide an update regarding OpenAI’s June 10, 2025 letter motion to compel
Daily News Plaintiffs to respond to several RFAs. See MDL ECF 124. On June 20, Daily News
Plaintiffs served supplemental responses to the RFAs at issue in that letter motion. As a result,
OpenAI withdraws the letter motion at MDL ECF 124 as this dispute has been resolved.



Respectfully,



 KEKER, VAN NEST &                LATHAM & WATKINS LLP               MORRISON & FOERSTER
 PETERS LLP                                                          LLP

 /s/ Andrew F. Dawson*            /s/ Elana Nightingale Dawson       /s/ Carolyn M. Homer*
 Andrew F. Dawson                  Elana Nightingale Dawson          Carolyn M. Homer


cc: All Counsel of Record (via ECF)




* All parties whose electronic signatures are included herein have consented to the filing of this
document.
